
In re Disciplinary Counsel; — Other; Applying for Findings and Recommendations (Formal Charges) Office of the Disciplinary Board, Nos. 02-DB-100, 06-DB-035, 06-DB-019.
ORDER
Considering the “Motion for Remand to Disciplinary Board” filed by the Office of Disciplinary Counsel,
IT IS ORDERED that this matter be remanded to the disciplinary board for consolidation with the proceedings numbered 07-DB-055. After appropriate consideration of the consolidated matters, the board is directed to issue a single recommendation of discipline to this court encompassing all disciplinary matters involving respondent.
/s/ Chet D. Traylor Justice, Supreme Court of Louisiana
